The act of 1943 (Ga. L. 1943, p. 588), providing for additional compensation for sheriffs, in counties having a population of not more than 12,210 and not less than 12,190 according to the Federal Census of 1940 or any future census, because of extra duties by reason of national defense, with a provision that it become ineffective six months after the duration of the present World War, is a special law for which provision has been made under existing laws and is violative of art 1, sec. 4, par. 1, of the Constitution of 1877 (Code, § 2-401).
                      No. 16006. NOVEMBER 12, 1947.
J. S. Moreland, Sheriff of Catoosa County, filed a mandamus petition against Thomas W. Christian, as sole Commissioner of Roads and Revenues of said county to compel the commissioner to pay him $900, being extra compensation alleged to be due him *Page 21 
under the act of 1943 (Ga. L. 1943, p. 588). Section 1 of this act provides: "That from and after the passage and approval of this act, the authority having control of the expenditures of county funds and/or other proper officials of all counties in the State of Georgia having a population of not more than 12,210, not less than 12,190, according to the Federal Census of 1940 and all other future Federal Census because of the extra duties imposed on such sheriffs because of the national defense activities are authorized and directed to pay to the sheriffs of said counties the sum of $75 a month in addition to the fees and compensations now paid to said sheriffs." Section 2 is as follows: "That this act shall become effective immediately upon the passage and approval of the same and shall remain in effect until six months after the duration of the present World War."
In his answer the commissioner asserted that the act was unconstitutional, in that it was a special law enacted solely for the benefit of the Sheriff of Catoosa County (and this court will take cognizance of the fact that by the census of 1940, Catoosa is the only county coming within the designated figures), and that compensation for sheriffs was provided for under existing general laws codified in the Code, §§ 24-2822, 24-2823, and was therefore in violation of art. 1, sec. 4, par. 1 (Code, § 2-401) of the Constitution of 1877.
A demurrer to this answer was sustained, an order was taken granting the prayers of the petition, and the commissioner excepted.
The act in question having been passed in 1943, its validity must be determined by the Constitution of 1877. If unconstitutional then, it is forever void. Jones v. McCaskill, 112 Ga. 453, 456
(37 S.E. 724).
The provision of the Constitution of 1877 here involved is art. 1, sec. 4, par. 1 (Code, § 2-401), to wit: "Laws of a general nature shall have uniform operation throughout the State, and no special law shall be enacted in any case for which provision has been made by an existing general law."
In Chappell v. Kilgore, 196 Ga. 591 (27 S.E.2d 89), where, by an act of the General Assembly, it had been sought to supplement *Page 22 
the compensation of a sheriff by fixing a salary as a jailor, it was clearly stated — as had previously been ruled in Atkinson
v. Bailey, 135 Ga. 336 (69 S.E. 540) — that the Code section fixing the compensation of sheriffs and providing from whom and in what manner it shall be received constituted a general law. In that case it was held that being the jailor was part of the sheriff's duties for which compensation was provided under the general law. It is insisted that the provision for additional compensation in the instant case is not covered by the provisions of the general law, for the reason that it is for "extra duties imposed on such sheriffs because of the national defense activities," and that it will only "remain in effect until six months after the duration of the present World War." We cannot agree to this view. As a part of the general law fixing the compensation of sheriffs, the Code, § 24-2822, provides a means for the procurement thereof, to wit, "or, upon an omission of the law, to such reasonable compensation as the grand jury shall award."
This act being applicable only in counties having a population of not more than 12,210 and not less than 12,190 according to the Federal Census of 1940 and any future Federal Census, and the answer — which upon demurrer must be taken as true — asserting that the "act is a special law enacted solely for the benefit of the Sheriff of Catoosa County," it is a special act under the rulings in Worth County v. Crisp County, 139 Ga. 117
(76 S.E. 747); Wilkinson County v. Twiggs County, 150 Ga. 583
(104 S.E. 418); Mayor c. of Danville v. Wilkinson County,166 Ga. 460 (143 S.E. 769); Gibson v. Hood, 185 Ga. 426
(195 S.E. 444); Jones v. Methvin, 193 Ga. 17
(17 S.E.2d 172).
Accordingly, the court erred in sustaining a demurrer to the answer of the commissioner.
Judgment reversed. All the Justices concur, except Head, J.,disqualified, and Wyatt, J., who took no part in theconsideration or decision of this case.